Case 1:18-cr-20685-KMW Document 290-1 Entered on FLSD Docket 01/22/2021 Page 1 of 7
                                                                                                                                   ATTORNEYS AT LAW
                                                                                                                                            Miami Tower
                                                                                                                      100 S.E. Second Street | Suite 4200
                                                                                                                               Miami, Florida 33131-2113
                                                                                                             P.O. Box 019101 | Miami, Florida 33101-9101
                                                                                                                         305.530.0050 | fax 305.530.0055
                                                                                                                                   www.carltonfields.com
                                                              March 3, 2020
                                                                                                                                                 Atlanta
                                                                                                                                          Florham Park
  Michael S. Pasano                                                                                                                             Hartford
  305-530-4064 Direct Dial
  mpasano@carltonfields.com
                                                                                                                                            Los Angeles
                                                                                                                                                  Miami
                                                                                                                                              New York
                                                                                                                                                Orlando
                                                                                                                                            Tallahassee
                                                                                                                                                 Tampa
                                                                                                                                       Washington, D.C.
                                                                                                                                       West Palm Beach


      Vanessa Pulido                                                        Email: vanessa_pulido@flsp.uscourts.gov
      Senior U.S. Probation Officer
      Wilkie D. Ferguson, Jr.
      United States Courthouse
      400 North Miami Avenue, 9th Floor South
      Miami, FL 33128

                Re:           US v. Gustavo Adolfo Hernandez-Frieri
                              Case No. 18-cr-20685-KMW

    Dear Ms. Pulido:

           Set out below are Defendant Gustavo Adolfo Hernandez Frieri's ("Gustavo Hernandez")
    comments and objections to your Pre-Sentence Investigation Report ("PSR") in this case. We
    appreciate your hard work. Some of what is set out here was stated in my email to you dated
    February 17, 2020. We ask that you consider what I set forth here and all the materials we have
    provided and make appropriate changes to the PSR. The comments and objections below
    proceed by reference to the paragraphs of the PSR.

    Part A

            We have a general comment about the way in which Mr. Hernandez’s situation is woven
    into the overarching conspiracy. The main conspiracy began in 2014 or earlier and involved
    Venezuelans taking advantage of their country and stealing money. These men, many of whom
    are co-defendants, are referred to as “boliburgueses,” or Venezuelan business elites. Mr.
    Hernandez was not one of them. The truth is that Mr. Hernandez NEVER knew any of these
    men, never spoke to these men, never took action on behalf of these men, and had no idea
    what was happening in 2014. This does not mean to say that Mr. Hernandez did not eventually
    become part of the conspiracy. He did, in 2016, through Abraham Ortega and Pedro Binaggia
    (“Binaggia” or “CS”). What is noteworthy about this is that Mr. Hernandez’s crime is related only
    to the Ortega money. It comes long after the Venezuelans have stolen and moved hundreds of
    millions of dollars of their money. More importantly, it comes after Binaggia is cooperating with
    Government agents. Mr. Hernandez’s involvement here, for which he accepts his culpability, is
    akin to a participant in a sting operation. This is significant in that it is Binaggia often talking
    about Mr. Hernandez or trying to get Mr. Hernandez involved in the other aspects of the
    conspiracy, and while there is talk, THERE IS NO ACTION. Mr. Hernandez NEVER talked to
    Krull. Mr. Hernandez never received or moved any money for anyone else other than
    Ortega/Binaggia and only the $12 million plus. The way the PSR reads, it seems to suggest that




                                                              Carlton Fields
    121389558.1                    Carlton Fields, P.A. practices law in California through Carlton Fields, LLP.
Case 1:18-cr-20685-KMW Document 290-1 Entered on FLSD Docket 01/22/2021 Page 2 of 7
   Vanessa Pulido
   Senior U.S. Probation Officer
   March 3, 2020
   Page 2

   Mr. Hernandez was an integral part of the conspiracy, when in fact he appeared at the end of
   things and had at best a minor role in what is a major crime. We refer you to the factual proffer
   that was part of Mr. Hernandez’s plea and ask you to conform this PSR to that document.

            We will now go to the specifics of the Part A paragraphs.

            Para 11. Mr. Hernandez was not released to home confinement in Italy. Italy does not
   have “home confinement.” Mr. Hernandez was under arrest at all times. He spent 20 days in
   jail in Messina. He then was moved to residences dictated by the Italian Court. He was later
   transferred to a Rome jail for another 10 days prior to his release to the custody of U.S.
   Marshals. Per Italian law, Mr. Hernandez was under arrest and confined for nine months and
   eight days. We ask that the PSR clarify this.

           Para 16 – 43. Mr. Hernandez is not involved in any of the acts described. We ask that
   this be clarified. Perhaps the heading that follows para 43 should read “Use of Hernandez’s
   Investment Fund to Launder Ortega Money” to differentiate and spell out that Mr. Hernandez’s
   involvement began in 2016.

            Para 47. The quotes from the April 2, 2016 meeting are taken out of context. The
   meeting lasted more than an hour. The meeting was in the Spanish language. This is true of
   most of the recordings Binaggia made. There are issues with the translations. The key objection
   is to the phrase “fake mutual fund.” This notion gets repeated throughout the PSR and is
   inaccurate. The Global Securities Trade Finance (“GSTF”) fund, as is apparent in the materials
   we gave you, WAS AND IS A REAL INVESTMENT FUND. The recorded conversation on April
   2 does not use the words “fake fund.” This is akin to a money launderer using a car dealership
   to launder money and calling the car dealership a fake dealership. NO. GSTF existed for more
   than 10 years before Ortega invested. It had over 50 other investors/subscribers. The fact that
   Ortega and Binaggia wanted to use this investment vehicle to launder money makes GSTF no
   less a real investment vehicle. We ask that you use here the language of the factual proffer:

   "During a recorded meeting in Panama on April 2, 2016, Ortega introduced the CS to Frieri, who
   explained how he (Frieri) could invest money using his (Frieri’s) investment advisor firm.
   Specifically, Frieri explained that his investment advisory firm, Global Security Advisors ("GSA"),
   operated from the United States, but primarily did business in Latin America and managed $2
   billion. Frieri was aware that there was a high probability that his investment advisory firm would
   be used to conceal the source of the money received."

           Moreover the so-called quotations from the April 2 transcript are misleading and mis-
   translated.

            a. For example, a quote reads “we’ll make the transactions in such a way that the
               purchase will look legitimate.”

                 The government’s Spanish transcript reads: “Y nosotros hacemos las transacciones
                 de tal forma que la compra sea legitima.” This translates to “will be (or “are”)
                 legitimate.”

            b. Another example from the 4/2/2016 meeting, reads “…the money can be directed
               anywhere on the backend using “cards”, or “checks”, or even “wire transfers””. The


   121389558.1
Case 1:18-cr-20685-KMW Document 290-1 Entered on FLSD Docket 01/22/2021 Page 3 of 7
   Vanessa Pulido
   Senior U.S. Probation Officer
   March 3, 2020
   Page 3

                 passage is entirely unrelated to Ortega’s investment in the Trade Finance fund,
                 which does NOT provide any cards, checks or wires. The quote “pastes” passages
                 from different sections of the conversation about unrelated topics.

            c. Third is the fallacious statement that Frieri went on to explain how he can avoid
               being tracked by authorities, such as Interpol. This is not a quote since there are no
               statements like this to quote from. Mr. Hernandez never said anything, directly or
               indirectly, about avoiding being tracked by authorities, in this meeting or in any other.

            d. Fourth, regarding the suggestion of using WhatsApp to communicate, in financial
               services and Latin American in particular, it is industry standard to use WhatsApp.
               Mr. Hernandez kept back-up of all WhatsApp exchanges and copies were made
               available to the AUSAs. There is no WhatsApp conversation where anything
               improper is discussed.

           Para 48. Not “false investments.” Krull and Mr. Hernandez did not work together. We
   object to the reference to international narcotics trafficking. This was an attempted “sting” by
   the CS. This statement is not part of the plea or the factual proffer.

            Para 49-50 These have nothing to do with Mr. Hernandez. We ask that you note this.

           Para 51. “Fake mutual funds.” Should be changed to “investment fund.” GSTF is not a
   fake fund. In fact, the paragraph should be re-written entirely. First, between April and June
   2016, discussions with Ortega and Binaggia produced an initial subscription into GSTF totaling
   $7 million of Ortega’s money. Later in 2016 and culminating in March 2017, an additional $5
   million was invested in the GSTF fund. These are two (2) discrete transactions and the way
   Para 51 describes these events is confusing. Moreover, Mr. Hernandez had no involvement in
   establishing the Deltec Bank account and no control over this account. The account belonged
   to Ortega and Ortega’s banker, Binaggia (the “CS”). Lastly, the monies were wired to GSTF’s
   bank in New Jersey, but Ortega only had limited use of these monies per the subscription
   agreement and the rules of the GSTF fund.

           Para 52. The translation is inaccurate. This is not what Mr. Hernandez said about the
   New Jersey bank. Or about Uruguay. These incorrect translations were addressed with the
   prosecutors and addressed in the final proffer. A more accurate translation of the discussion is
   as follows:

                 Mr. Hernandez says CNB is a US bank used by his partners in the Uruguay
                 broker dealer, that had a Fed window, and that it was good because it was the
                 US but bad since the CS’s clients did not “want” US banks.

                 Mr. Hernandez says Vestin is a Puerto Rico bank that is not cheap, $100
                 dollars or so for a wire transfer, but the clients can have their accounts and get
                 cards, order transfers, etc.

                 Mr. Hernandez says we’re not interested in owning banks. It is a conflict. But
                 we have a relationship with the partners. Mr. Hernandez specifically says we
                 don’t have people inside.



   121389558.1
Case 1:18-cr-20685-KMW Document 290-1 Entered on FLSD Docket 01/22/2021 Page 4 of 7
   Vanessa Pulido
   Senior U.S. Probation Officer
   March 3, 2020
   Page 4

          Para 53. The $400,000 came out of the Class D subscriber monies per the rules of the
   GSTF fund, which much like an insurance policy or brokerage account, allow loans back out.
   The money was sent out per Binaggia’s instructions. The so-called shell company was on
   Binaggia’s end. Mr. Hernandez had nothing to do with it. There was no “fake” loan contract.
   Nor did the word “fee” appear anywhere in the documents or conversations.

          Para 55. It is important to note that Mr. Hernandez was not a party to either Binaggia’s
   conversation or the meeting with Gutierrez. Please clarify this.

          Para 56. Please add that Mr. Hernandez had no involvement in establishing the entity
   Big Green Valley S.A. or opening its account at Zarattini Bank. Big Green Valley S.A. was
   owned by Ortega and existed before Ortega met Mr. Hernandez.

           Para 57. The Ortega monies were sent to the same bank that handled all the GSTF
   funds, City National Bank in New Jersey. The contracts were not “fake.” Any monies out of the
   GSTF classes C or D went per normal operations. If a subscriber wanted to loan himself or
   herself monies, contracts were written up to allow this. The contracts were real. Again, this does
   not excuse Mr. Hernandez’s from his participation. This is merely meant to clarify that NO FAKE
   DOCUMENTS WERE EVER CREATED. Mr. Hernandez did not assist Ortega in opening any
   account in New Jersey. That bank handled the GSTF fund. Ortega’s account at Vestin Bank in
   Puerto Rico was separate and unrelated to the GSTF fund.

           Para 58-76. Much of these paragraphs relate to Krull. Krull himself has acknowledged
   that he NEVER MET OR TALKED TO Mr. Hernandez. Binaggia said a lot of things to different
   people. Much of what the CS said was intended to induce them into crimes. The conversations
   that related to Mr. Hernandez were TALK. We ask you to acknowledge that in each instance
   described here, Mr. Hernandez NEVER DID ANYTHING MORE. No emails inviting
   subscriptions. No contracts. No conversations or meetings with the “bad guys”. No other money
   came into the GSTF fund. There was talk led by Binaggia, but no ultimate action. Again, this
   had nothing to do with the GSTF investment and was never used to receive any GSTF-related
   Ortega monies. This does not excuse Mr. Hernandez for his talk or his involvement with Ortega
   and the CS. But it does put in a fairer context the true scope of Mr. Hernandez’s culpability.

          Para 64. Please clarify that Mr. Hernandez never met with or spoke to Krull. The CS
   spoke to both men separately. Mr. Hernandez did not present any “solution” to Krull. We ask
   you to delete “immediately agreed.” This was a long conversation between the CS and Mr.
   Hernandez which at the end produced no action.

         Para 67. Please clarify that Mr. Hernandez was not party to these conversations. Mr.
   Hernandez never agreed to meet with Krull.

         Para 68. This is misleading. The CS, Binaggi, called Mr. Hernandez, but Mr.
   Hernandez did not answer. Please clarify that Mr. Hernandez was not a part of the March 16
   meeting in any way.

          Para 70. This is misleading. Mr. Hernandez never spoke with Krull. Conversations
   between the CS and Hernandez were apart from conversations between the CS and Krull.
   Please clarify.



   121389558.1
Case 1:18-cr-20685-KMW Document 290-1 Entered on FLSD Docket 01/22/2021 Page 5 of 7
   Vanessa Pulido
   Senior U.S. Probation Officer
   March 3, 2020
   Page 5

           Para 75. Please refer to the transcript of the August 25, 2017, meeting between the CS
   and Mr. Hernandez. This paragraph as written is misleading. The conversation is convoluted.
   Mr. Hernandez does not respond in the affirmative to mention of kickbacks. At page 41 of the
   transcript Mr. Hernandez says the lawyers “can’t pay these two guys.” Admittedly, Mr.
   Hernandez keeps talking with the CS about what the lawyers could do. However, Mr.
   Hernandez never takes any action and no monies from these lawyers ever come to Mr.
   Hernandez’s fund.

           Para 86. With all respect, Mr. Hernandez is NOT a “professional money launderer” and
   outside this case and his involvement with Ortega and Binaggia, Mr. Hernandez has led an
   exemplary life. There is no proof of this “label” and we ask that it be deleted. The investment
   funds were not “fake.” Mr. Hernandez made no false reporting to banks and did not open any
   shell corporations or bank accounts. Mr. Hernandez’s plea and factual proffer clarify that he
   was willfully blind to how Ortega and the CS were using him and his fund. Moreover, the
   starting date of his involvement here is April 2016, not March 2016.

          Para 94. Please note per the Plea Agreement that the parties disagree about
   application of the sophisticated money laundering enhancement.

            Para 98. Please note that the adjusted offense level is either 32 or 30.

            Para 102. Please note that the total offense level is either 29 or 27.

   Part B – Criminal History

            Para 106. The car registration expired was not an arrest. Please clarify this.

            Para 109. We ask this description of traffic citations be deleted.

   Part C – Offender Characteristics

          Para 112. Maria is misspelled. It is Maria Lucia. Mr. Hernandez’s sister Maria Elena is
   not unemployed. She resides in Barcelona, Spain (not Colombia) and works in the family
   investment business. She is not a realtor.

            Para 114. Mr. Hernandez was married in Brazil on April 17, 2007. The civil marriage in
   New York was on October 17, 2007. Mr. Hernandez is now divorced. His former spouse was
   let go by her company shortly following his arrest on the charged offense, and that it is because
   of this that she is actively seeking employment, which is the reason why she must move back to
   New York in order to find a job.

          Para 115. Mr. Hernandez graduated in Colombia in 1996 (not 1995) with a J.D. (not
   college degree in France). He graduated in France in 1999 with a Masters and Doctoral
   Program in Political Economy. In Nos. 122 and 123 the report does reflect the above accurately.

          Para 124. The report states Mr. Hernandez currently does not possess any professional
   licenses. It should be clarified that his professional licenses, both in the US and abroad, were
   revoked after the indictment in the instant offense.



   121389558.1
Case 1:18-cr-20685-KMW Document 290-1 Entered on FLSD Docket 01/22/2021 Page 6 of 7
   Vanessa Pulido
   Senior U.S. Probation Officer
   March 3, 2020
   Page 6

           Para 126. The legal name of the entity is “Global Securities Advisors GP, LLC.”
   The period was since the inception of the firm in November 2002 until July 25, 2018, the date of
   Mr. Hernandez’s arrest due to the instant offense. Variable profit was made by the “GSH
   entities, including GSI, GSA, GSC, PCG, Alpha and GRA” (not just GSI and GSA).
   GSA was not “involved in the instant offense.” The entity was GSTF.

         Para 127. Profits and distributions varied every year. Mr. Hernandez has estimated
   anywhere between $150-250,000 in annual profit distributions.

         Para 128 and 129. “Two others” should be clarified that these others are Mr.
   Hernandez’s eldest brother Cesar Gabriel Hernandez and his brother in law, Juan Carlos
   Gomez.

          Para 130. Domaine is not based in the Caymans. It is based in NYC. The Bottled Asset
   Funds (I and II), are Cayman domiciled funds.

          Para 131. These entities were not discussed because they were all long dissolved.
   These entities (#s 132-134, 136-138) were related to real estate investments that date to the
   period of 2002-2005. Entities were dissolved when projects concluded. The entity referenced in
   No. 135 was the “old” GSA, replaced by GSA GP. It should be clarified it is the same as in No.
   126.

          Para 139 and 140. The entities referenced were not incorporated by Mr. Hernandez but
   acquired by an investment group which included Mr. Hernandez and his assets were later
   merged into a separate entity (Domaine) and the entity was dissolved.

           Para 142. Mr. Hernandez did report bank accounts. He reported the closure of different
   bank accounts (BOFA, Wells Fargo), which were closed by the banks after the indictment in the
   instant offense, and he listed the checks received after the closure of these accounts.
   BAF funds I and II: the report indicates “no fair market value” but in parallel indicates a “partner
   capital” ($306,000) and an “undrawn commitment” amount ($247,500) which has no value. Mr.
   Hernandez clarified in the material submitted that, after the indictment in the instant offense, he
   resigned his role as director of the BAF funds and the funds entered into liquidation. At this
   stage there is no current valuation for Mr. Hernandez’s position but it is most probably
   worthless.

          Para 144. The monthly payment is ca. $1,200 (not $900). Mr. Hernandez provided the
   back up information for this insurance policy.

           Para 145. An internet search for the value of a brand of watch, irrespective of model
   specifications etc., will yield disparate results. Mr. Hernandez submits that the watch in
   question is not worth anything remotely close to $95,000. It was a gift from his father and the
   market value should be no more than $3,000.

          Para 147. Mr. Hernandez provided copy of the title for this vehicle, which was registered
   under his former wife’s name and his name, since he was a co-signer on the loan. He did not
   include the vehicle since per the divorce settlement, the car is owned by his former wife, who
   has been paying the car for the past years and is in the process of selling it.



   121389558.1
Case 1:18-cr-20685-KMW Document 290-1 Entered on FLSD Docket 01/22/2021 Page 7 of 7
   Vanessa Pulido
   Senior U.S. Probation Officer
   March 3, 2020
   Page 7

           Para 149. The 597 Hibiscus Trust is not as ‘owned’ by the defendant and his former
   spouse, since the property was acquired in 2013 under a trust. Mr. Hernandez never owned
   this property. He resigned as co-settlor and co-trustee per the divorce settlement. His former
   spouse remains as sole settlor and trustee. The 597 Hibiscus trust deed does not limit the
   property to passing upon death. Mr. Hernandez’s former wife, as sole trustee, has the power to
   convey the property to the children at any time.

            Para 153. Mr. Hernandez questions if this is accurate.

           Para 158. Mr. Hernandez has negative equity / cash flow. We submit he is not capable
   of paying a fine.

   Part D – Sentencing Options

          Para 160. We ask that this include language that, as is stated in # 6 of the PSR, per the
   plea agreement “the defendant will argue the sophisticated laundering enhancement does not
   apply.” And thus will argue that the proper total offense level is 27, not 29.

           Para 171. We submit these are ample grounds for a departure or variance, including,
   but not limited to Mr. Hernandez’s significant charity activities. We will spell all this out in detail
   in a sentencing memorandum to be submitted to the Court.

                                                Sincerely,




                                                Michael S. Pasano




   121389558.1
